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1                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
2                                  SAN FRANCISCO DIVISION
3
     FEDERAL TRADE COMMISSION,
4
                 Plaintiff,
5
           v.                                 Case No. 3:23-cv-01710-AMO
6
     INTERCONTINENTAL                         JOINT STIPULATION AND
7    EXCHANGE, INC.                           [PROPOSED] MODIFIED ORDER
                                              REGARDING PRE-HEARING
8    and                                      DEADLINES
9    BLACK KNIGHT, INC.,
10               Defendants.
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1           The undersigned parties submit this joint stipulation pursuant to the Court’s June 22, 2023

2    order (ECF 153).

3           In anticipation of the evidentiary hearing, the parties must meet and confer regarding the

4    presentation of evidence and any other matters necessary to ensure the efficient presentation of

5    the issues. Then, on Friday, July 14, 2023, the parties shall file a joint statement setting forth the

6    following:

7           1.      A list identifying each witness each party intends to call, the subject-matter of the

8                   testimony, and the anticipated length of the examination.

9           2.      A list identifying each exhibit each party intends to offer at the evidentiary hearing

10                  through a witness declaration or live testimony. The list should also identify which

11                  exhibits are subject to a confidentiality designation and where on the docket the

12                  Court can locate a motion for in camera treatment, if any or a declaration in

13                  support of sealing as required by Local Rule 79-5. The parties are cautioned that

14                  the Court strongly disfavors closing the courtroom for any portion of the

15                  evidentiary hearing.

16           Further, the parties stipulate, subject to the Court’s approval, to the following

17   modifications to the Court’s scheduling order (ECF 94).

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                        Event                                               Deadline
20   Parties that intend to offer as evidence
     materials designated as confidential by an
21   opposing party or non-party shall provide           July 7, 2023
22   notice to the opposing party or non-party of
     any such materials by this date.
23   Deadline to file motions for in camera treatment
     of proposed hearing exhibits.                    July 12, 2023
24
     Deadline to file responses to motions for in
25   camera treatment of proposed hearing exhibits. July 17, 2023
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1    STIPULATED BY:

2    Dated: June 23, 2023
3

4    SUSMAN GODFREY L.L.P.                        FEDERAL TRADE COMMISSION
5

6    By: /s/ Kalpana Srinivasan______             By: /s/ Abby L. Dennis____________
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18      Intercontinental Exchange, Inc.

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1          This order as modified has been entered after consultation with the parties.

2    PURSUANT TO STIPULATION, IT IS SO ORDERED.

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4    Dated: ________________,
                      June 26 2023             _______________________________
                                               Honorable Araceli Martínez-Olguín
5                                              United States District Judge
6                                              Northern District of California

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